         Case 1:24-cv-07975-AT           Document 50         Filed 12/20/24       Page 1 of 3




                  THE BUZBEE LAW FIRM
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                                                                          December 20, 2024



VIA ECF
Email and U.S. Mail
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Honorable Analisa Torres
United States District Court for the
Southern District of New York
500 Pearl Street
New York, NY 10007-1312


        Re: Plaintiff’s Response to Shawn Carter’s Request for Expedited Rule 11 Motion,
        Jane Doe v. Sean Combs et al., 24-cv-07975-AT

Dear Judge Torres:

        By letter motion filed on December 13, 2024, defendant Shawn Carter notified the Court
of his intention to file a motion to strike and motion for sanctions “immediately” under Rules
11(c)(2) and 12(f). As with defendant Carter’s prior letters filed in this case, it is histrionic in tone
but substantively groundless.

       Defendant Carter threatens Plaintiff with a Rule 11 motion based on questions raised by
one single television interview concerning events occurring twenty-four years ago, when Plaintiff
was thirteen years old. Defendant Carter also asks this Court to alter the Federal Rules of Civil
Procedure in his favor, by abrogating the mandatory twenty-one-day Rule 11 safe harbor period,
without any legal support or factual justification whatsoever. The former is frivolous and the latter
is impermissible.

        Defendant Carter’s threat of a Rule 11 motion is frivolous because it characterizes run-of-
the-mill disputes of fact as “proof” that Plaintiff’s complaint is baseless. None of the factual issues
Carter identifies are sufficient even to grant summary judgment in Carter’s favor, much less
support Rule 11 sanctions. The fact that the defendant or a potential witness does not agree with
or recollect the facts alleged in the complaint does not, and cannot, give rise to a motion for
sanctions for filing a baseless complaint Defendant Carter’s threat of an “immediate” sanctions
motion on the first whisper of factual uncertainty is just one more instance of bullying, intended
to have a chilling effect on Plaintiff, Plaintiff’s counsel, and any potential plaintiffs watching these
proceedings.

                                                   1
        Case 1:24-cv-07975-AT           Document 50        Filed 12/20/24      Page 2 of 3




         A Rule 11 motion is frivolous on the additional ground that expecting a victim of sexual
assault over two decades ago, when that victim was a minor (and, as her interview revealed, also
autistic) to have perfect recall of all facts is outrageous. Defendant Carter twists Plaintiff’s words
when he accuses her, for instance, of “guessing” at the timing of events alleged in the complaint,
such as the length of car rides. But New York courts have expressly acknowledged that plaintiffs
in this type of case cannot be expected to have exacting recall and command of all relevant facts.
See Pisula v. Roman Catholic Archdiocese of N.Y., 201 A.D.3d 88, 104 (N.Y. App. Div. 2021)
(“We recognize that in matters of sexual abuse involving minors, as recounted by survivors years
after the fact, dates and times are sometimes approximate and incapable of calendrical exactitude”
and approving allegations spanning a four-year window of time in which the abuse could have
occurred).

       There is no basis for a Rule 11 motion here, and if filed such a motion would itself be
subject to a Rule 11 motion in response. Of course, we cannot prevent defendant Carter from
wasting the resources of this Court and all parties in pursuing one.

        However, defendant Carter’s request that the Court “shorten the filing deadline” for his
threatened Rule 11 motion from 21 days to 1 day is entirely improper. Carter fails to cite any
precedent whatsoever to support this astonishing request – because there is none. Carter also fails
to cite any reason why the Federal Rules of Civil Procedure should be abrogated in his favor in
this particular case. Again, there is none.

        The 21-day safe harbor under Rule 11 exists to provide parties and counsel time to assess
the objections being made and to withdraw or modify a pleading or other paper if necessary. FRCP
11(c)(2); Fierro v. Gallucci, 423 F. App’x 17, 19 (2d Cir. 2011). The safe-harbor period has been
recognized by the Second Circuit as “a strict procedural requirement.” Star Mkt. Mgmt., Inc. v.
Koon Chun Hing Kee Soy & Sauce Factory, Ltd., 682 F.3d 170, 175 (2d Cir. 2012); see also
Fierro, 423 F. App’x at 19 (safe harbor “requires” motion to be served 21 days prior to their filing).
It cannot be shortened here because Mr. Carter and his counsel “request” as much, whether in an
attempt to play “gotcha,” or to exert additional pressure on Plaintiff, or for any other reason.

        From the outset, defendant Carter and his counsel have shrilly maintained an entitlement
to different rules and faster procedures – from “expedited briefing” on the issue of anonymity and
a “summary dismissal” of Plaintiff’s complaint to, now, a wholesale elimination of the 21-day safe
harbor under Rule 11. In each instance the goal has been to blur the facts and rush a decision. But
there is aggressive advocacy and then there is bad faith. Mr. Carter’s latest tactics, much like his
open threat to refer Plaintiff’s attorneys for disciplinary action, cross that line.

        Moreover, outside of the courtroom, Mr. Carter has employed tactics of intimidation and
harassment even more extreme, tortious, and quite possibly illegal. My firm recently filed a
lawsuit in Harris County, Texas, that details how Mr. Carter’s company (Roc Nation) and his
counsel have bribed my clients to file lawsuits against my firm, threatened former clients,
impersonated state officials, and engaged in other behavior far beyond the pale of acceptable
conduct. Their tactics won’t work, and they will be addressed in more detail in connection with
the parties’ briefing on Plaintiff’s anonymity.



                                                  2
        Case 1:24-cv-07975-AT           Document 50        Filed 12/20/24      Page 3 of 3




        Like Mr. Combs, Mr. Carter is rich, famous, and powerful. Mr. Carter will exert all the
pressure he can to intimidate and harass Plaintiff, me, or anyone else. The chilling effect of those
efforts is substantial, as is the potential chilling effect of a Rule 11 motion being brought in these
circumstances. But ultimately, in our court system, the rules are the same for Mr. Carter and for
the Plaintiff here, and the Rule 11 safe harbor cannot be abrogated on his whim.

         Finally, defendant Carter raises the status of my admission in the Southern District of New
York. As with his previous letters to this Court, his December 13 letter includes a substantial
amount of defamatory suggestions about me, including that I am somehow attempting to
“circumvent the authority of this Court to enforce Rule 11” against me. That is nonsense. I am a
member of the State Bar of New York and am admitted to the Eastern District of New York. I
intend to apply for reciprocal admission to the Southern District. The fact that I have signed
pleadings and letters filed in this Court does not reflect any attempt by me to “evade” responsibility
for anything. To the contrary, I have signed those pleadings and papers because I am lead counsel
in this and other similar cases pending in this District.




                                                            Respectfully,
                                                       /s/ Anthony G. Buzbee
                                                        Anthony G. Buzbee




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